
433 So.2d 712 (1983)
STATE of Louisiana ex rel. Levie ALMORE
v.
CRIMINAL DISTRICT COURT PARISH OF ORLEANS.
No. 82-KH-2837.
Supreme Court of Louisiana.
April 18, 1983.
Granted. CCrP Article 901, subd. C(2) is directed to the sentencing judges, not to the custodian of defendant. The custodian is obligated to see that only the sentence imposed is the sentence served. The State of Louisiana in the person of the prosecutor was party to the cases in which these sentences were imposed, and bears some responsibility for any errors in the proceedings. The prosecutors have not objected, and have not sought to have the sentences set aside. Accordingly, the Warden is ordered to correct defendant's record to show that the sentences are to be served as imposed by the trial judge in this case.
